Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 1 of 17




                                                                4223




    25
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 2 of 17




                                                                 4223
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 3 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 4 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 5 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 6 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 7 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 8 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 9 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 10 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 11 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 12 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 13 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 14 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 15 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1   Filed 11/25/20   Page 16 of 17
Case 6:21-cr-06097-DGL-MWP   Document 1    Filed 11/25/20   Page 17 of 17




                       November 25, 2020
